Case 3:17-cv-00986-BAS-AGS Document 185 Filed 05/07/20 PageID.8769 Page 1 of 6



   1   GREENSPOON MARDER LLP
   2   Richard W. Epstein, Esq. (Admitted Pro Hac Vice)
       richard.epstein@gmlaw.com
   3   Jeffrey A. Backman, Esq. (Admitted Pro Hac Vice)
   4   jeffrey.backman@gmlaw.com
       200 E. Broward Boulevard, Suite 1800
   5   Fort Lauderdale, FL 33301
   6   Tel: 954.527.2427
       Fax: 954.333.4027
   7
       Attorneys for Defendant Royal Seas Cruises, Inc.
   8   [additional Defendant’s counsel on signatory line]
   9
                          UNITED STATES DISTRICT COURT
  10                    SOUTHERN DISTRICT OF CALIFORNIA
  11

  12   JOHN MCCURLEY AND DAN
                                  Case No.: 3:17-cv-0986-BAS-AGS
       DEFOREST, INDIVIDUALLY AND
  13   ON BEHALF OF ALL OTHERS
  14   SIMILARLY SITUATED,
                                  JOINT MOTION TO VACATE
                                  TRIAL DATE AND DEADLINES
  15           Plaintiffs,        PENDING           RULING       ON
                                  OUTSTANDING MOTIONS
  16
                  v.
  17

  18   ROYAL SEAS CRUISES, INC.,

  19                Defendant.
  20
             Pursuant to Civil Rule 7.2, Defendant, ROYAL SEAS CRUISES, INC.
  21
       and Plaintiffs, JOHN MCCURLEY and DANIEL DEFOREST, hereby jointly
  22
       move for entry of an Order vacating the trial date and associated deadlines
  23
       pending the Court’s ruling on various outstanding motions, and state as follows:
  24

  25
             1.    The Amended Order [Dkt. 113] entered on October 10, 2019, set

  26
       trial for August 18, 2020 at 9:00 a.m. and set forth further deadlines requiring

  27

  28
Case 3:17-cv-00986-BAS-AGS Document 185 Filed 05/07/20 PageID.8770 Page 2 of 6



   1   documents to be prepared and filed in preparation for trial beginning on May 18,
   2   2020 and continuing weekly thereafter.
   3         2.      There is currently pending before the Court the following fully
   4   briefed motions:
   5                a. Defendant’s Motion to Stay [Dkt. 122];
   6                b. Plaintiffs’ Amended Motion to Strike Witness Affidavits and
   7                    Sanction [Dkt. 129];
   8                c. Plaintiff’s Motion to Decertify Class In Part [Dkt. 132];
   9                d. Defendant’s Motion to Decertify Class [Dkt. 143];
  10                e. Defendant’s Motion to Exclude Plaintiff’s Expert Nathan Bacon
  11                    [Dkt. 151];
  12                f. Defendant’s Motion to Exclude Plaintiff’s Expert Christina
  13                    Peters-Stasiewicz [Dkt. 163];
  14                g. Defendant’s Motion to Exclude Plaintiff’s Expert Wesley Week
  15                    [Dkt. 164];
  16                h. Defendant’s Amended Motion for Summary Judgment [Dkt.
  17                    165];
  18                i. Plaintiff’s Motion for Summary Judgment [Dkt. 160].
  19         3.     Resolution of these motions will significantly impact the evidence
  20   and issues presented at trial and thus the preparations and documents filed in
  21
       preparation for trial.
  22
             4.     For example, if the Class is decertified in part or in whole, that will
  23
       fundamentally change the scope of the arguments to be presented at trial.
  24
             5.     Further, some of the pending Motions will otherwise terminate the
  25
       current deadlines, including either Plaintiffs’ or Defendant’s Motion for
  26
       Summary Judgment or Defendant’s Motion to Stay.
  27

  28


                                               1
Case 3:17-cv-00986-BAS-AGS Document 185 Filed 05/07/20 PageID.8771 Page 3 of 6



   1         6.     The Parties also share concerns about viability of preparing for and
   2   completing a jury trial under the current deadlines in light of the ongoing national
   3   emergency associated with the COVID-19 coronavirus pandemic, which may
   4   continue to impose logistical issues for counsel in preparing trial and disruptions
   5   to travel and gatherings such as conducting a jury trial with out-of-state
   6   witnesses.
   7         7.     The Parties have conferred and agreed that requesting the Court
   8   vacate the Trial date and deadlines pertaining to the final exhibit and witness list,
   9   motions in limine, proposed jury instructions, verdict forms, voir dire questions,
  10   and statement of the case, pre-trial order, and Fed. R. Civ. P. 26(a)(3) disclosures
  11   is in the interests of the Parties and the Court in order to promote cost savings in
  12   judicial economy.
  13         8.     Otherwise, the Parties will spend a significant amount of time and
  14   expense preparing trial documents and submitting them for the Court’s review
  15   which will could be invalidated or mooted depending on the Court’s rulings on
  16   various of the pending motions. The Parties would prefer to present to the Court
  17   concise targeted documents for the factual and legal issues that will still be at
  18   issue following the Court’s rulings rather than force the Court to wade through
  19   arguments that became irrelevant after filing.
  20         WHEREFORE, the Parties respectfully request the Court vacate the trial
  21
       date and remaining trial deadlines and reset the trial date, and associated
  22
       deadlines, to be within ninety (90) to one hundred twenty (120) days after the
  23
       Court’s ruling on the aforementioned motions above. The Parties will submit a
  24
       status report within seven (7) days of the Court’s ruling on the motions proposing
  25
       a trial date and associated deadlines.
  26

  27   IT IS SO STIPULATED.
  28


                                                2
Case 3:17-cv-00986-BAS-AGS Document 185 Filed 05/07/20 PageID.8772 Page 4 of 6



   1

   2   Dated: May 7, 2020

   3

   4
                             Respectfully Submitted,
   5
                             GREENSPOON MARDER LLP
   6
                             /s/ Jeffrey A. Backman
   7                         JEFFREY A. BACKMAN (Fla. Bar No. 662501)
   8                         Jeffrey.Backman@gmlaw.com
                             RICHARD W. EPSTEIN (Fla Bar No. 229091)
   9                         Richard.Epstein@gmlaw.com
  10                         200 E. Broward Blvd, Suite 1800
                             Fort Lauderdale, Florida 33301
  11                         Tel: 954.527.2427
  12                         Fax: 954.333.4027
                             Admitted Pro Hac Vice
  13

  14                         BRIAN R. CUMMINGS (Fla. Bar No. 25854)
                             Brian.Cummings@gmlaw.com
  15                         401 E. Jackson St., Suite 1825
  16                         Tampa, Florida 33602
                             Tel: 813.769.7020
  17                         Fax: 813.426.8582
  18                         Admitted Pro Hac Vice
  19
                             BLAKE L. OSBORN, ESQ. (CA SBN 271849)
  20                         Blake.Osborn@gmlaw.com
                             1875 Century Park East, Suite 1900
  21
                             Los Angeles, CA 90067
  22                         Telephone: 323.880.4522
                             Facsimile: 954.771.9264
  23

  24                         Attorneys for Defendant Royal Seas Cruises, Inc.
  25

  26

  27

  28


                                        3
Case 3:17-cv-00986-BAS-AGS Document 185 Filed 05/07/20 PageID.8773 Page 5 of 6



   1                         LAW OFFICES OF TODD M. FRIEDMAN, P.C.
   2
                             /s/ Todd M. Friedman
   3                         Todd M. Friedman, Esq. (216752)
   4                         Adrian R. Bacon, Esq. (280332)
                             21550 Oxnard St., Suite 780
   5                         Woodland Hills, CA 91367
   6                         (877) 206-4741
                             (866) 633-0228 (fax)
   7                         tfriedman@toddflaw.com
   8                         abacon@toddflaw.com
                             mgeorge@toddflaw.com
   9

  10                         KAZEROUNI LAW GROUP, APC
                             Abbas Kazerounian, Esq. (249203)
  11                         ak@kazlg.com
  12                         Matthew M. Loker, Esq. (279939)
                             ml@kazlg.com
  13                         245 Fischer Avenue
  14                         Costa Mesa, CA 92626
                             Telephone: (800) 400-6808
  15                         Facsimile: (800) 520-5523
  16                         Attorneys for Plaintiffs John McCurley and
  17                         Dan DeForest
  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28


                                        4
Case 3:17-cv-00986-BAS-AGS Document 185 Filed 05/07/20 PageID.8774 Page 6 of 6



   1                             CERTIFICATE OF SERVICE
   2         I HEREBY CERTIFY that the foregoing document is being served this
   3
       13th day of March 2020, on all counsel of record identified on the Service List
   4

   5   below in the manner specified.
   6                                        /s/ Todd M. Friedman
   7                                        Todd M. Friedman, Esq.
   8

   9
                                        SERVICE LIST
  10

  11                             JEFFREY A. BACKMAN (Fla. Bar No. 662501)
                                 Jeffrey.Backman@gmlaw.com
  12                             RICHARD W. EPSTEIN (Fla Bar No. 229091)
  13                             Richard.Epstein@gmlaw.com
                                 200 E. Broward Blvd, Suite 1800
  14                             Fort Lauderdale, Florida 33301
  15                             Tel: 954.527.2427
                                 Fax: 954.333.4027
  16                             Admitted Pro Hac Vice
  17
                                 BRIAN R. CUMMINGS (Fla. Bar No. 25854)
  18                             Brian.Cummings@gmlaw.com
  19                             401 E. Jackson St., Suite 1825
                                 Tampa, Florida 33602
  20
                                 Tel: 813.769.7020
  21                             Fax: 813.426.8582
                                 Admitted Pro Hac Vice
  22

  23                             BLAKE L. OSBORN, ESQ. (CA SBN 271849)
                                 Blake.Osborn@gmlaw.com
  24
                                 1875 Century Park East, Suite 1900
  25                             Los Angeles, CA 90067
                                 Telephone: 323.880.4522
  26
                                 Facsimile: 954.771.9264
  27   Attorneys for Defendant
  28


                                           5
